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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY, CIVIL ACTION
Plaintiff, No. 2:22-cv-547
v. Judge Horan

MICHAEL RUSSIN, RUSSIN
FINANCIAL, RUSSIN GROUP, SIMON
ARIAS, III, ARIAS AGENCIES, S.A.
HOLDING AMERICAN INCOME LIFE
INSURANCE COMPANY,

Defendant. JURY TRIAL DEMANDED

PLAINTIFF’S INITIAL DISCLOSURES

Plaintiff Renee Zinsky, through her undersigned counsel, makes her initial disclosures
pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedures and the Court’s scheduling
order.

I. INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION

A. Liability
1. Renee Zinsky Plaintiff has information concerning the
5023 Sutton Place allegations in her complaint.

Wexford, PA 15090

Ds Malorie Fry Ms. Fry has information concerning the
5023 Sutton Place allegations in Plaintiff's complaint.
Wexford, PA 15090

3. Michael Russin Mr. Russin is believed to have information
11 Noble Lane concerning the allegations in Plaintiff's
Windham, ME 04062 complaint.

4, Geneva Russin Mrs. Russin is believed to have information
11 Noble Lane concerning Defendant, Michael Russin’s
Windham, ME 04062 inappropriate behavior toward Plaintiff and

other females.

EXHIBIT

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Simon Arias
103 Indian Meadow Drive
Mars, PA 16046

Chrissy Vansuch

14612 Mirabelle Vista Circle
Tampa, FL 33626
813-475-4839

Natalie D’ Achilles
150 Lake Drive
Wexford, PA 15090
724-612-3361

Katie McCabe

150 Lake Drive
Wexford, PA 15090
412-848-6722

Steven Greer
1200 Wooded Acres
Waco, TX 76710

David Zophin
1200 Wooded Acres
Waco, TX 76710

Debbie Gamble
1200 Wooded Acres
Waco, TX 76710

Mr. Arias is believed to have information
regarding Defendant Michael Russin’s
hiring/employment with AIL/Arias
Agencies, termination of Mr. Russin,
Plaintiffs reports of fraud, sexual harassment
and sexual assault, Defendants’ response(s)
thereto, Defendants’ policies and procedures
regarding same.

Ms. Vansuch is believed to have information
regarding Plaintiff's reports of fraud,
sexual harassment/sexual assault,
Defendants’ response(s) thereto, Defendants’
policies and procedures regarding same.

Mrs. D’ Achilles is believed to have
information regarding Plaintiffs reports of
fraud, sexual harassment/sexual assault,
Defendants’ response(s) thereto, Defendants’
policies and procedures regarding same.

Ms. McCabe is believed to have

information regarding Plaintiffs reports of
fraud, sexual harassment/sexual assault,
Defendants’ response(s) thereto, Defendants’
policies and procedures regarding same.

Mr. Greer is believed to have information
regarding Mr. Russin’s employment,
Plaintiffs reports of fraud, sexual
harassment/sexual assault, Defendants’
policies and procedures regarding same.

Mr. Zophin is believed to have information
regarding Mr. Russin’s employment,
Plaintiffs reports of fraud, sexual
harassment/sexual assault, Defendants’
policies and procedures regarding same.

Ms. Gamble is believed to have information
regarding Mr. Russin’s employment,
Plaintiff's reports of fraud, sexual
harassment/sexual assault, Defendants’
response(s) thereto, Defendants’ policies and
procedures regarding same.
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Soyla Villareal
1200 Wooded Acres
Waco, TX 76710

Janet Hendrick

Phillips Murrah

710 Rawlins Street, Suite 900
Dallas, TX 75219

Logan Blackmore
700 S Stonebridge Drive
McKinney, TX 75070

Jeremiah Russin
11 Noble Lane
Windham, ME 04062

Chris Gilbert

Bridgeville, PA

Brendan Gilbert
Carnegie, PA

Cameron Labrie
Portland, ME

Ray Salmon
Saegertown, PA

Ms. Villareal is believed to have information
regarding the Plaintiff's reports of

fraud, sexual harassment/sexual assault,
Defendants’ response(s) thereto, Defendants’ _
policies and procedures regarding same.

Ms. Hendrick is believed to have information
regarding Plaintiff's reports of fraud, sexual
harassment/sexual assault, Defendants’
response(s) thereto, Defendants’
investigation of Plaintiff's complaints, AIL’s
termination of Mr. Russin.

Ms. Blackmore is believed to have
information regarding Plaintiffs reports of
fraud, sexual harassment/sexual assault,
Defendants’ response(s) thereto, Defendants’
investigation of Plaintiff's complaints.

Mr. Russin is believed to have information
regarding the employment and termination of
Michael Russin, ownership, business, and
operations of Russin Financial

Mr. Gilbert is believed to have information
regarding the employment and termination of
Michael Russin, unethical and inappropriate
behavior of Mr. Russin, and the business and
operations of Russin Financial

Mr. Gilbert is believed to have information
regarding Mr. Russin’s inappropriate
behavior, business and operations of Russin
Financial

Mr. Labrie is believed to have information
regarding Mr. Russin’s unethical and
inappropriate behavior, business and
operations of Russin Financial

Mr. Salmon is believed to have information
regarding sexual harassment/assault by Mr.
Russin, Mr. Russin’s inappropriate behavior,
business and operations of Russin Financial
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Travis Vaughn
Erie, PA

Maria Folino
1565 Hastings Mill Road
Pittsburgh, PA 15241

Joe Lamb
Wexford, PA

Shannon Vaughn
931 Benton Avenue
Pittsburgh, PA 15212

Charles Ferarri
North Versailles, PA

Brian Welsh
Kennedy, PA

David Burkes
New Castle, PA 16101

Tyler Szpakowski
Pittsburgh, PA 15216

Christina Quillen
Miami, FL

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Mr. Vaughn is believed to have information
regarding the employment of Mr. Russin, Mr.
Russin’s_ unethical and inappropriate
behavior, business and operations of Russin
Financial

Ms. Folino is believed to have information
regarding Mr. Russin’s unethical and
inappropriate behavior, business and
operations of Russin Financial

Mr. Lamb is believed to have information
regarding Mr. Russin’s unethical and
inappropriate behavior, business and
operations of Russin Financial

Ms. Vaughn is believed to have information
regarding Mr. Russin’s inappropriate
behavior, business and operations of Russin
Financial

Mr. Ferrari is believed to have information
regarding Mr. Russin’s unethical and
inappropriate behavior including but not
limited to recent threats of violence

Mr. Welsh is believed to have information
regarding Mr. Russin’s inappropriate
behavior

Mr. Burkes is believed to have information
regarding Mr. Russin’s inappropriate and
unethical behavior

Mr. Szarkowski is believed to have
information regarding Mr. Russin’s
inappropriate and unethical behavior

Ms. Quillen is believed to have information
regarding Mr. Russin’s inappropriate and
unethical behavior, and Mr. Russin’s
termination
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INTERROGATORIES
L, State the full name, age, address, and telephone number of the person answering
these interrogatories.
ANSWER:
Renee Zinsky
5023 Sutton Place
Wexford PA 15090
28 yrs old
2, Identify each and every person that Plaintiff believes has knowledge of any facts

on which Plaintiff bases any allegations in the Complaint, stating as to each such person the facts
about which he or she purportedly has knowledge.

ANSWER:

See 26 witnesses (many of which are represented by Plaintiff's counsel) identified in
Plaintiff’s Initial Disclosures. In addition, Plaintiff identifies the following 17 witnesses:

1.

Anne Zacharias — knowledge of Defendant Russin’s harassment and threats directed
to Plaintiff and Plaintiff’s place of employment from November 2021 — present;
knowledge of Plaintiff’s reputation.

Dara-Lynn Hockman — knowledge of Defendant Russin’s unethical and
inappropriate behavior; knowledge of toxic work culture at Russin Financial, Arias
Agencies and American Income Life Insurance Company. Ms. Hockman is
represented by Plaintiffs counsel.

Abeni Mayfield — knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Arias Agencies and American Income
Life Insurance Company; knowledge of Plaintiff's reputation. Ms. Mayfield is
represented by Plaintiff's counsel.

Mikelle Mayfield - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Arias Agencies and American Income
Life Insurance Company; knowledge of Plaintiff's reputation. Mr. Mayfield is
represented by Plaintiffs counsel.

Melissa Ahrent - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Russin Financial, Arias Agencies and
American Income Life Insurance Company; knowledge of Plaintiff's reputation. Ms.
Ahrent is represented by Plaintiff’s counsel.

Colin Bannister - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Russin Financial, Arias Agencies and
American Income Life Insurance Company; knowledge of Plaintiff's reputation. Mr.
Bannister is represented by Plaintiff’s counsel.

David Haak - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Russin Financial, Arias Agencies and
American Income Life Insurance Compan; knowledge of Plaintiff’s reputation. Mr.
Haak is represented by Plaintiff’s counsel.

Julia Gogol - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Russin Financial, Arias Agencies and
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American Income Life Insurance Company; knowledge of Plaintiff’s reputation. Ms.
Gogol is represented by Plaintiff’s counsel.

Meggan Dipietro - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Russin Financial, Arias Agencies and
American Income Life Insurance Company; knowledge of Plaintiff's reputation. Ms.
Dipietro is represented by Plaintiffs counsel.

Nick Atallah - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Arias Agencies and American Income
Life Insurance Company; knowledge of Plaintiff's reputation. Mr. Atallah is
represented by Plaintiffs counsel.

Emily Fleming - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Arias Agencies and American Income
Life Insurance Company; knowledge of Plaintiff’s reputation. Ms. Fleming is
represented by Plaintiff's counsel.

Terrek Ray - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Arias Agencies and American Income
Life Insurance Company; knowledge of Plaintiff's reputation. Mr. Ray is represented
by Plaintiff’s counsel.

Aaron Oestenriter - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture at Russin Financial, Arias Agencies and
American Income Life Insurance Company; knowledge of Plaintiff's reputation. Mr.
Oestenriter is represented by Plaintiff's counsel.

Michele Crowe - knowledge of Defendant Russin’s unethical and inappropriate
behavior; knowledge of toxic work culture Arias Agencies and American Income Life
Insurance Company. Ms. Crowe is represented by Plaintiff’s counsel.

Officer Chuberko, Ross Township Police Department — knowledge of Plaintiff's
vandalized vehicle.

Mark Zinsky — knowledge of Plaintiff's allegations contained in her Complaints and
other pleadings; knowledge of Plaintiff's reputation.

Eric Fisher, Esq. — knowledge of Plaintiffs allegations contained in her Complaints
and other pleadings.

3. Identify each and every individual, other than Plaintiff's attorneys, with whom

Plaintiff has spoken regarding any of the allegations in this lawsuit, including communications
concerning any individual’s actual or potential participation in this lawsuit, and for each such
person identified, describe in detail the extent or nature of the conversation and state the date of
the conversation, the persons involved in the conversation, and whether Plaintiff has any
documents, notes, or other writings referring or relating to the conversation. Produce copies of all
such documents with Plaintiff's answers to these Interrogatories.

ANSWER:

1. Mallory Fry — See Plaintiff’s Answer No. 2.
2. Mark Zinsky — See Plaintiff’s Answer No. 2
3. Anne Zacharias — See Plaintiff’s Answer No. 2.
